Case 1:10-cv-02454-JBS-JS Document 92 Filed 07/18/12 Page 1 of 2 PageID: 897




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


SAMANTHA LAPELLA,                        HONORABLE JEROME B. SIMANDLE

                  Plaintiff,
                                         Civil No. 10-2454 (JBS/JS)
      v.

CITY OF ATLANTIC CITY, et al.,
                                         ORDER
                  Defendants.



     This matter having come before the Court upon motion of

Defendants City of Atlantic City, Atlantic City Police Department,

John J. Mooney, and Thomas Moynihan for Judgment on the Pleadings

[Docket Item 63]; the Court having considered the submissions of the

parties in support thereof and opposition thereto; for the reasons

stated in the Opinion of today’s date; and for good cause shown;

     IT IS this      18th       day of     July       , 2012 hereby

     ORDERED that Defendants’ motion shall be GRANTED to the following

extent; and it is further

     ORDERED that the Atlantic City Police Department is DISMISSED

WITH PREJUDICE; and it is further

     ORDERED that Count VI of Plaintiff’s complaint and all claims

against Defendant Mooney shall be DISMISSED WITHOUT PREJUDICE to

Plaintiff moving for leave to amend its Complaint within 14 days of

the entry of this Order, consistent with this opinion; and it is
Case 1:10-cv-02454-JBS-JS Document 92 Filed 07/18/12 Page 2 of 2 PageID: 898



further

     ORDERED that if a motion to amend is not timely filed, then the

dismissal of Counts VI and Defendant Mooney will be WITH PREJUDICE.




                                    s/ Jerome B. Simandle
                                   JEROME B. SIMANDLE
                                   Chief U.S. District Judge




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